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                                         No. 17-1363C
                                      Filed May 11, 2018                FILED
                                    NOT FOR PUBLICATION
                                                                      MAY 1 1 2018
                                              )
                                                                     U.S. COURT OF
 OLADAPO AD OLAJIDE,                          )
                                                                    FEDERAL CLAIMS
                                              )
                       Plaintiff,             )
                                              )       RCFC 59(e); Motion To Alter Or Amend
 v.                                           )       Judgment.
                                              )
 THE UNITED STATES,                           )
                                              )
                       Defendant.             )
~~~~~~~~~~~~~~~ )

       Oladapo ad Olajide, Oakland, CA, plaintiff prose.

       Devin A. Wolack, Trial Attorney, Elizabeth M Hosford, Assistant Director, Robert E.
Kirschman, Jr., Director, Chad A. Readier, Principal Deputy Assistant Attorney General,
Commercial Litigation Branch, Civil Division, United States Department of Justice, Washington,
DC, for defendant.

                         MEMORANDUM OPINION AND ORDER

GRIGGSBY, Judge

I.     INTRODUCTION

       Plaintiff pro se, Oladapo ad Olajide, has moved to alter or amend the judgement entered
in this matter on March 6, 2018, pursuant to Rule 59(e) of the Rules of the United States Court of
Federal Claims ("RCFC"). Plaintiff has also moved for leave to file an amended complaint,
pursuant to RCFC 7(b), and moved for entry of a temporary restraining order, pursuant to RCFC
65. For the reasons set forth below, the Court DENIES plaintiffs motions.

II.    BACKGROUND

       A detailed factual background for this case is set forth in the Court's March 6, 2018,
Memorandum Opinion and Order dismissing this matter for lack of subject-matter jurisdiction
and for failure to state a claim upon which relief can be granted (the "March 6, 2018, Decision").
See Olajide v. United States, No. 17-1363C, 2018 WL 1980263, at* 1-2 (Fed. Cl. Mar. 6, 2018).




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In short, plaintiff alleged breach of contract, "breach of the implied covenant of trust," and Fifth
Amendment takings claims against the United States, in connection with a private bill of
exchange and a certified agreement that plaintiff alleged that he entered into with the United
States. See generally Comp!.

        On March 6, 2018, the Court issued a Memorandum Opinion and Order dismissing this
case for lack of subject-matter jurisdiction and for failure to state a claim upon which relief can
be granted, pursuant to RCFC 12(b)(l) and (6). See generally Olajide, 2018 WL 1980263. In
the March 6, 2018, Decision, the Court dismissed plaintiffs breach of contract claim for lack of
subject-matter jurisdiction, because plaintiff failed to establish the existence of an express or
implied-in-fact contract with the government. Id. at *6. The Court also held that plaintiffs
takings claim must be dismissed for failure to state claim upon which relief can be granted,
because plaintiff failed to identify a cognizable property interest, or a government action that
resulted in the alleged taking of his property. Id. at *7.
       In addition, the Comt held that, to the extent that the complaint alleged a claim based
upon a violation of a federal statute or regulation, dismissal of this matter for lack of subject-
matter jurisdiction was also appropriate because plaintiff failed to identify a money-mandating
source oflaw that would permit him to bring this action under the Tucker Act. Id. at *7-8. And
so, the Comt dismissed this matter and entered judgment accordingly. Id.

        On March 22, 2018, plaintiff timely filed a motion to alter or amend judgment pursuant
to RCFC 59(e). See generally Pl. Mot. In his motion, plaintiff seeks to alter or amend judgment
to "give the court an opportunity to correct any wrongdoing or unfair conduct that may cause
irreparable harm to [him] in his quest to claim and declare substantive rights that he is entitled to
as a U.S. Citizen." Id. at 2. Plaintiff also states that "[n]ew evidence has since been presented to
[him] ... which has enabled him to raise new matters before this comt in an amended
complaint." Id. at 2-3. And so, plaintiff requests that the Comt alter or amend the judgment
entered in this case and that he be granted leave to file an amended complaint. Id. at 4.

III.   LEGAL ST AND ARDS

        RCFC 59(e) provides that " [a] motion to alter or amend a judgment must be filed no later
than 28 days after the entry of the judgment." RCFC 59(e). To prevail upon a timey filed
motion to alter or amend judgment, the moving party must "make an evidentiary showing of



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extraordinary circumstances." Progressive Indus., Inc. v. United States, 131 Fed. Cl. 66, 69
(2017) (citing Johnson v. United States, 127 Fed. Cl. 661, 663 (2016)), aff'd, No. 17-1941, 2018
WL 1996923 (Fed. Cir. Apr. 30, 2018).

        Such extraordinary circumstances include: (1) an intervening change in controlling law;
(2) the availability of previously unavailable evidence; or (3) the necessity of granting the motion
to prevent manifest injustice. Lee v. United States, 130 Fed. Cl. 243, 251 (2017), appeal
docketed, No. 17-1643 (Fed. Cir. Feb. 16, 2017); see also Progressive Indus., 131 Fed. Cl. at 69
(quoting Del. Valley Floral Grp., Inc. v. Shaw Rose Nets, LLC, 597 FJd 1374, 1383 (Fed. Cir.
2010)). But, a motion under RCFC 59( e) "is not intended to give an 'unhappy litigant an
additional chance to sway' the court." Salem Fin., Inc. v. United States, 119 Fed. Cl. 84, 86
(2014) (quoting Matthews v. United States, 73 Fed. CL 524, 526 (2006)).

IV.    LEGAL ANALYSIS

       A.      Plaintiff Is Not Entitled To Relief Under RCFC 59(e)

       A careful review of plaintiffs motion to alter or amend judgment makes clear that
plaintiff has not demonstrated that extraordinary circumstances warrant granting such relief
under RCFC 59(e). To prevail upon a motion to alter or amend judgment, plaintiff must "make
an evidentiary showing of extraordinary circumstances," which may include: (1) an intervening
change in controlling law; (2) the availability of previously unavailable evidence; or (3) the
necessity of granting the motion to prevent manifest injustice. Lee, 130 Fed. Cl. at 251; see also
Progressive Indus., 131 Fed. Cl. at 69. Plaintiff makes no such showing here.
       In his motion, plaintiff states that the Court should alter or amend the judgment entered in
this matter, because "[ nJew evidence has since been presented to [him] ... which has enabled
him to raise new matters before this court in an amended complaint." Pl. Mot. at 2. The "new
evidence" that plaintiff references in his motion appears to be ce1iain public statements made by
Treasury Secretary Stephen T. Mnuchin and Treasurer of the United States Jovita Carranza on
February 13, 2017. See id. at Ex. 2 (Amended Complaint at 'if 24).
       But, as plaintiff acknowledges in his proposed amended complaint, these public
statements were made in February 2017-months before plaintiff commenced this action on
September 27, 2017. Id. And so, to the extent that these statements form the basis for plaintiffs




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motion to alter or amend judgment upon the ground of the availability of previously unavailable
evidence, plaintiffs motion is without merit.
          Relief pursuant to RCFC 59(e) is also not appropriate in this case because plaintiff fails
to show that reconsideration of the Court's March 6, 2018, Decision is necessary to prevent
manifest injustice. In his motion, plaintiff seeks to alter or amend judgment to "give the court an
opportunity to conect any wrongdoing or unfair conduct that may cause irreparable harm to
[him] in his quest to claim and declare substantive rights that he is entitled to as a U.S. Citizen."
Id. at 2. But, plaintiff does not identify any error or wrongdoing that would justify altering or
amending the judgment in this matter. See generally id. And so, plaintiff has simply not met his
burden to show that he is entitled to relief under RCFC 59(e). See Ogunniyi v. United States,
124 Fed. Cl. 668, 672 (2016) (explaining in the context ofa motion for reconsideration that a
party moving under RCFC 59 must demonstrate that any injustice is "'apparent to the point of
being almost indisputable"'). 1
          B.       The Court Denies Plaintiff's Motion
                   For Leave To File An Amended Complaint

          The Court must also deny plaintiff's motion for leave to file an amended complaint. See
Pl. Mot. at 4. In his motion for leave, plaintiff improperly seeks to file an amended complaint
after the Court has dismissed this matter and entered judgment in favor of the government. Id.
A review of plaintiffs proposed amended complaint also makes clear that plaintiff seeks to
belatedly file his amended complaint to circumvent the anti-filing injunction entered by the
Court on March 6, 2018, which requires that plaintiff obtain leave from the Chief Judge of the
Court before submitting any new filings. 2 Id. at 3-4; see generally id. at Ex. 2. And so, the
Comt must DENY plaintiffs motion for leave to file an amended complaint.




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    For the same reasons, the Court denies plaintiffs motion for a temporary restraining order.
2 In the March 6, 2018, Decision, the Cou1t directed the Clerk to accept no fmther filings by plaintiff
without an Order granting leave to file such filings from the Chief Judge of the United States Court of
Federal Claims. See O/ajide v. United States, No. l 7-1363C, 2018 WL 1980263, at *8 (Fed. Cl. Mar. 6,
2018). The Court also ordered that, in seeking leave to file any future actions, plaintiff shall explain how
his complaint raises new matters properly before this Court. Id.; see also RCFC l l(b) and (c) (barring the
filing of unwarranted or frivolous claims that have no evidentiary suppo1t).



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IV.   CONCLUSION

      In light of the foregoing, the Court:

      1.     DENIES plaintiffs motion to alter or amend judgment;

      2.     DENIES plaintiff's motion for leave to file an amended complaint; and

      3.     DENIES plaintiffs motion for a temporary restraining order.

      IT IS SO ORDERED.




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